                         CASE 0:22-cr-00243-MJD-DTS Doc. 6 Filed 09/21/22 Page 1 of 1
                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA
     UNITED STATES OF AMERICA,
                               Plaintiff,
     v.                                          Criminal No. 22-243 (MJD/DTS)
     MARCUS TRICE,
                            Defendant,
                                           APPLICATION FOR WRIT OF HABEAS CORPUS

The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
      (x)Ad Prosequendum                    ()Ad Testificandum

Name of Detainee: MARCUS TRICE (Hennepin Jail Booking #: 2022014133)
Detained at (custodian): Hennepin County Public Safety Facility

The United States requests that the ( X ) Investigating Agency ( ) U.S. Marshals transport the detainee.

Detainee is:            a.)    (X) charged in this district by: Indictment
                        Charging Detainee With: Controlled substance and firearm offenses
               or
                        b.)         () a witness not otherwise available by ordinary process of the Court

Detainee will: a.)                  () return to the custody of detaining facility upon termination of this proceeding
       or      b.)                  (X) be retained in federal custody until final disposition of federal charges.

Appearance is necessary: Forthwith. Detainee is to be brought to the Magistrate of the Moment for purposes
of initial appearance proceedings.

Dated: September 20, 2022                                                                       /s/ Allen Slaughter
                                                                                                Allen A. Slaughter Jr., AUSA

                                                              WRIT OF HABEAS CORPUS

                        (X)Ad Prosequendum                                                      ()Ad Testificandum
The above application is granted and the above-named custodian, the Investigating Agency, as well as the
United States Marshal for this District, is hereby ORDERED to produce the named detainee, on the date and
time recited above, and any further proceedings to be had in this case, and at the conclusion of said proceedings
to return said detainee to the above-named custodian.

September 21, 2022                                s/ David T. Schultz
Date                                              UNITED STATES MAGISTRATE JUDGE
Please provide the following, if known: Marcus TRICE
     A.K.A.(s) (if applicable):             Frederick Leon Floyd                                                 Gender:            Male
     Booking or Fed. Reg.#:                 Hennepin # 202203891;                                                DOB:               xx/xx/1976
     Facility Address:                      401 S. 4th Ave.                                                      Race:              African American
                                            Minneapolis, Minn. 55415                                             FBI #:             15728JC4
     Facility Phone:                        (612) 348-5112                                                       MNCIS #:           27CR2217305
     Currently Incarcerated For:            Controlled Substance Offense Conduct
                                                                             RETURN OF SERVICE
Executed on ______________________________________ by __________________________________________ ________________________________________________________________________
                                                                                                                    (Signature)

                                                                                                                                   Writ issued 9/21/2022
